Case 17-33578-hdh11 Doc 404 Filed 03/20/18 Entered 03/20/18 19:02:42 Page 1of6

United States Bankruptcy Court
Northern District of Texas

Inre _ Williams Financial Group, Inc. Case No, 17-33578-HDH

 

Debtor(s) Chapter 1

 

AMENDMENT COVER SHEET

Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
Schedule A/B solely to add two assets.

NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES

Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the amendmentt(s) listed above has
been given this date to any and all entities affected by the amendment as follows:

Date: March 20, 2018 is/ David W. Parham
David W. Parham 15459500
Attorney for Debtor(s)
Akerman LLP

2001 Ross Avenue, Suite 3600
Dallas, TX 75201

214-720-4300 Fax:(302) 295-0199
david.parham@akerman.com

Software Copyright (c) 1996-2018 Best Case, LLC - www.besicase.com Best Case Bankruptcy
Case 17-33578-hdh11 Doc 404 Filed 03/20/18 Entered 03/20/18 19:02:42 Page 2 of 6

Fill in this information to identify the case:

Debtorname Williams Financial Group, Inc.

 

United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 

Case number (if known) 17-33578-HDH

HE Check if this is an
amended filing

 

 

 

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 12115

 

 

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Cash and cash equivalents .

1, Does the debtor have any cash or cash equivalents?

 

HE No. Go to Part 2.

C1 Yes Fill in the information below.
All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

 

HE No. Go to Part 3.
0 Yes Fill in the information below.

ar hee Accounts receivable
10, Does the debtor have any accounts receivable? :

 

MI No. Go to Part 4,
C] Yes Fill in the information below.

Investments
13. Does the debtor own any investments?

 

HE No. Go to Part 5.
OO Yes Fill in the information below.

Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

 

MI No. Go to Part 6.
0 Yes Fill in the information below.

Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)
27, Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

 

HI No. Go to Part 7.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1
Software Copyricht (c) 1996-2018 Best Case, LLC - wyw.bestcase.com Best Case Bankruptcy
Case 17-33578-hdh11 Doc 404 Filed 03/20/18 Entered 03/20/18 19:02:42 Page 3 of 6

Debtor Williams Financial Group, Inc. Case number (if known) 17-33578-HDH

 

Name

D Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles

 

 

38. Does the debtor own or lease any office furniture, fixtu res, equipment, or collectibles?

HI No. Go to Part 8.
D Yes Fill in the information below.

Machinery, equipment, and vehicles

 

46. Does the debtor own or lease any machinery, equipment, or vehicles?

Mi No. Go to Part 9.
Cl Yes Fill in the information below.

Real property

 

 

54, Does the debtor own or lease any real property?

HE No. Go to Part 10,
OC Yes Fill in the information below.

ala Len Intangibles and intellectual property

 

59, Does the debtor have any interests in intangibles or intellectual property?

MI No. Go to Part 11,
C1 Yes Fill in the information below.

ec a All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

O No. Go to Part 12.
WB Yes Fill in the information below.

71. Notes receivable
Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74, Causes of action against third parties (whether or not a lawsuit
has been filed)

75. Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets,
country club membership
Reimbursement of expenses incurred on behalf of WFG
Investments, Inc.

 

 

Current value of
debtor's interest

$982,335.97

 

Official Form 206A/B Schedule A/B Assets - Real and Personal Property
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com

page 2
Best Case Bankruptcy
Case 17-33578-hdh11 Doc 404 Filed 03/20/18 Entered 03/20/18 19:02:42 Page 4of6

Debtor Williams Financial Group, Inc. Case number (if known) 17-33578-HDH

 

Name

Reimbursement of expenses incurred on behalf of WFG
Advisors, LP _ $245,583.99

 

 

78, Total of Part 11. $1,227 ,919.96
Add lines 71 through 77. Copy the total to line 90. !

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
HNo
C1 Yes

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com Best Case Barkruptcy

 
Case 17-33578-hdh11 Doc 404 Filed 03/20/18 Entered 03/20/18 19:02:42 Page 5of6

Debtor Williams Financial Group, Inc. Case number (if known) 17-33578-HDH
Name

Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type of property Current value of Current value of real
personal property property
80, Cash, cash equivalents, and financial assets. $0.00
Copy line 5, Part 1 ‘
81. Deposits and prepayments. Copy line 9, Part 2. $0.00
82. Accounts receivable. Copy line 12, Part 3. $0.00
83. Investments. Copy line 17, Part 4. $0.00
84, Inventory. Copy line 23, Part 5. ee $0.00
85. Farming and fishing-related assets. Copy line 33, Part 6. $0.00
86. Office furniture, fixtures, and equipment; and collectibles. $0.00
Copy line 43, Part 7. —
87, Machinery, equipment, and vehicles. Copy line 51, Part 8. ee $0.00
88. Real property. Copy line 56, Part 9... useseseececirermenseatennseeseesaterseassueessineesseiseess > __ $0.00.
89. Intangibles and intellectual property. Copy line 66, Part 10. $0.00
90. All other assets. Copy /ine 78, Part 11. + —_ $1,227,919.96
91. Total. Add lines 80 through 90 for each column $1,227,919.96 | +91b. $0.00
92. Total of all property on Schedule A/B. Add lines 91a+91b=92 $1,227,919.96
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 4

Software Copyright (c) 1996-2018 Best Case, LLC - wyw.bestcase.com Best Case Bankruptcy
Case 17-33578-hdh11 Doc 404 Filed 03/20/18 Entered 03/20/18 19:02:42 Page 6 of 6

United States Bankruptcy Court
Northern District of Texas

Inre _ Williams Financial Group, Inc. Case No. 17-33578-HDH
Debtor(s) Chapter 41

AMENDED
DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I

have read the foregoing document(s), consisting of __4 _ page(s), and that they are true and correct to the best of
my knowledge, information, and belief.

  

Date 3/reIer Signature |.
David Williams
President

 

Penalty for making a false statement ov concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both,
18 U.S.C. §§ 152 and 3571.

Software Copyright (c) 1998-2018 Bast Case, LLC - www, besicase,com Best Case Bankruptey

 
